         Case 2:16-cv-00030-SEH Document 84 Filed 01/13/17 Page 1 of 2
                                                                    FILED
                                                                      JAN 13 2017
                                                                   Clerk, U.S. District Court
                                                                      District Of Montana
                                                                             Helena




               IN THE UNITED STATES DISTRICT COURT

                    FOR THE DISTRICT OF MONTANA

                              BUTTE DIVISION

GINA JAEGER, individually, AND
AS PERSONAL REPRESENTATIVE
OF THE ESTATE OF HER SISTER                    No. CV 16-30-BU-SEH
CHARLENE HILL,

                         Plaintiff,            ORDER

vs.

PEAK MEDICAL MONTANA
OPERATIONS, LLC AND GENESIS
HEALTHCARE, INC.,

                         Defendants.

      On January 13, 2017, the Court held a hearing on Genesis Healthcare Inc's




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Motion to Dismiss Plaintiffs Amended Complaint with Prejudice. 1 Based upon

the record made in open court,

         ORDERED:

      Genesis Healthcare Inc's Motion to Dismiss Plaintiffs Amended

Complaint with Prejudice2 is GRANTED. The caption is amended to reflect

dismissal of Genesis Healthcare, Inc.

      DATED this       11-iy of January, 2017.

                                              ~~g~o1~
                                              United States District Judge




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         Doc. 38.
     2
         Doc. 38.

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